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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

NEIL M. MCCARTHY                               :
8706 Reading Road                              :
Silver Spring, Maryland 20901                  :
                                               :
                 Plaintiff,                    :
                                               :
       v.                                      :      Case No. 8:20-cv-00138
                                               :
LINDA F. VENTO                                 :
33 Newton Lane                                 :
Trumbull, Connecticut 06611                    :
                                               :
                 Defendant.                    :

                                           COMPLAINT

       The Plaintiff, Neil M. McCarthy, through counsel, hereby files this Complaint against

Defendant Linda F. Vento, and states as follows:

                                  JURISDICTION AND VENUE

            1.    The Plaintiff Neil M. McCarthy is a citizen and resident of the State of

Maryland.

            2.    Defendant Linda F. Vento is a citizen and resident of the State of Connecticut.

            3.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332 as there is

diversity of citizenship between the parties and the amount in controversy exceeds Seventy-Five

Thousand Dollars ($75,000.00).

            4.    Personal jurisdiction is proper pursuant to Md. Ct. & Jud. Proc. §6-103 and the

Defendant has the requisite minimum contacts with the State of Maryland.

            5.    Venue is proper in this court pursuant to 28 U.S.C. §1391.
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                             FACTS COMMON TO ALL COUNTS

           6.   On February 17, 2017, the Plaintiff was driving a motor vehicle with due care

westbound on the Capital Beltway (I-495), at or near its intersection with Connecticut Avenue, in

Montgomery County, Maryland.

           7.   On the same date and time, Defendant Linda F. Vento was operating a motor

vehicle behind Plaintiff Neil M. McCarthy proceeding in the same direction of travel on the

Capital Beltway (I-495).

           8.   Suddenly and without warning, the Defendant Linda F. Vento drove her vehicle

into the rear of the Plaintiff’s vehicle, thereby causing a collision, causing the Plaintiff to strike

another vehicle, and causing the Plaintiff to sustain serious personal injuries. The Plaintiff

neither caused nor contributed to the collision or his injuries.

                                         COUNT I
                   (Negligence Causing Personal Injuries - Linda F. Vento)

           9.   The Plaintiff re-alleges and incorporates herein by reference paragraphs 1

through 8 above.

           10. The foregoing occurrence was caused by Defendant Linda F. Vento’s

negligence. Such negligence included the failure to pay full time and attention to the operation of

her vehicle; failure to operate her vehicle at a reasonable speed; failure to control her vehicle;

failure to brake timely; failure to operate her vehicle so as to avoid a collision; and failure to see

what was there to be seen.        Further, the Defendant Linda F. Vento operated her vehicle

recklessly and with a reckless disregard for the consequences of such operation, and with a

disregard for the rights and safety of the Plaintiff and others, and in a manner likely to endanger

the person and property of the Plaintiff and others.

           11. Defendant Linda F. Vento operated her motor vehicle in violation of the motor
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vehicle and traffic laws of the State of Maryland. It was the duty of the Defendant to operate her

motor vehicle in a careful and prudent manner and with due regard for the safety of other

persons; notwithstanding that duty, the Defendant operated her vehicle in a negligent manner,

and with a disregard for the safety of the Plaintiff.

           12. As the direct and proximate cause of the negligence of the Defendant as

aforesaid, the Plaintiff has suffered, and will continue to suffer, severe and permanent physical

injuries, permanent disability, physical and mental pain/suffering, and severe mental anguish and

emotional distress.

           13. As a further direct and proximate cause of the negligence of the Defendant as

aforesaid, the Plaintiff has incurred, and will continue to incur, substantial medical and related

expenses, transportation costs, loss of earnings, permanent impairment of earning capacity, loss

of time and enjoyment from his usual and customary leisure and recreational activities, and

permanent impairment of his usual and customary leisure and recreational activities.

                        DAMAGES SOUGHT UNDER ALL COUNTS

        Wherefore, the Plaintiff hereby demands judgment from and against the Defendant Linda

F. Vento in an amount of Seven Hundred and Fifty Thousand Dollars ($750,000), in

compensatory damages, plus interest from the date of the occurrence, and costs.

                                                        Respectfully submitted,

                                                        /s/ Patrick G. Senftle
                                                        Patrick G. Senftle, Bar # 14624
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                                 JURY DEMAND

Plaintiff hereby demands a trial by jury trial on all issues raised herein.



                                         /s/ Patrick G. Senftle
                                         Patrick G. Senftle (#14624)
